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AFFIDAVIT FOR SERVICE OF PROCESS ON THE Case Now ceccccosnnnnd21-CV-00539-AJT-TCB
SECRETARY OF THE COMMONWEALTH

Commonwealth of Virginia Va. Code §§ 8.01-301, -329; 55.1-1211; 55.1-1401; 57-51
_..Jnited States District Court Eastern District of Virginia. =. District Court

woatah Garcia es We cnn, énthony Reginald Didonato ce
sstntasstntnsinsniaueipsnsstsaisapapsuiniinen smn? Rapid Recovery Credit & Collections
..€/0 Thomas R. Breeden, PC sents 0304 Collingham Drive, Fairfax, VA 22032

 

TO THE PERSON PREPARING THIS AFFIDAVIT: You must comply with the appropriate requirements listed on the back of this form.

 

 

 

Attachments: [ ] Warrant [ ] Motion forJudgment [><] Complaimt ou cenuanamniimaneeanuianiistaseineneusnnanee

 

I, the undersigned A ffiant, state under oath that:
[<] the above-named defendant [J] cacscccsescccssssssssssssssscscstssssssesssnssssscsesssssstesssscssssueussssssiutvsssenessauvensssessaunnnsssasssecnnsessseseunnasenssesensesnsenuneasesuannesbessenanesensestnanseeee

1. [ ] is anon-resident of the Commonwealth of Virginia or a foreign corporation and Virginia Code § 8.01-328.1(A) o.--ccssssccssssmseneen
applies (see NON-RESIDENCE GROUNDS REQUIREMENT on reverse).

2. [X] isa person whom the party seeking service, after exercising due diligence, has been unable to locate (see DUE DILIGENCE
REQUIREMENT on reverse) and that

 

is the return date on the attached warrant, motion for judgment or notice (see TIMELY
SERVICE REQUIREMENT on reverse).

 

 

 

 

I OI0 2 cnet
DATE [ ] PARTY ““[X] PARTY'S ATTORNEY [ ] PARTY'S AGENT

State of NR bosoms [ ] City [County of Pin WiLcun...

Acknowledged, subscribedfand swot
BUG TAO da RESISTRATION # 34070
NOTARY REGISTRATION NUMBER * MY COMM)SSION exrines (h}] clerk [ ] MAGISTRATE [CENOTARY PUBLIC (My commission expires 0.27 1....G.0A. )
lA

[X] Verification by the cleteefthexe fh ene Agabthe certificate of compliance requested. A self-addressed stamped
envelope was provided to the ole at the time sof f ling of this Affidavit.

 

 
 
     
  
   
  

NOTARY PUBLIC

 

 

 

 

 

NOTICE TO THE RECIPIENT from the Office of the Executive Secretary of the Commonwealth of Virginia:
You are being served with this notice and attached pleadings under Section 8.01-329 of the Code of Virginia which designates
the Secretary of the Commonwealth as statutory agent for Service of Process. The Secretary of the Commonwealth’s ONLY
responsibility is to mail, by certified mail, return receipt requested, the enclosed papers to you. If you have any questions
concerning these documents, you may wish to seek advice from a lawyer.

SERVICE OF PROCESS IS EFFECTIVE ON THE DATE WHEN SERVICE IS MADE ON THE SECRETARY OF THE

COMMONWEALTH.

 

CERTIFICATE OF COMPLIANCE
I, the undersigned, Clerk in Ot TOS ce of hs Secretary of the Commonwealth, hereby certify the following:

1. On. si seceveastet , legal service in the above-styled case was made upon the Secretary of the
Commonwealth, ; as 1s statutory agent for persons to be served i in accordance with Section 8.01-329 of the Code of Virginia, as amended.

» On OCT 06 2021

sages tenon nosnaho ease end enanenamLacanuananteRommos ease bona aceon risrei TES , papers described in the Affidavit and a copy of this Affidavit were

forwarded by certified mail, return receipt requested, to the party designated to be "A YA ss int ffidavit.

SERVICE OF PROCESS CLERK, DESI ge ITY OF THE
SECRETARY OF THE Mane

FORM DC-410 FRONT 10/19
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TIMELY SERVICE REQUIREMENT:

Service of process in actions brought on a warrant or motion for judgment pursuant to Virginia Code § 16.1-
79 or § 16.1-81 shall be void and of no effect when such service of process is received by the Secretary within
ten days of any return day set by the warrant. In such cases, the Secretary shall return the process or notice, the
copy of the affidavit, and the prescribed fee to the plaintiff or his agent. A copy of the notice of the rejection
shall be sent to the clerk of the court in which the action was filed.

NON-RESIDENCE GROUNDS REQUIREMENT:
If box number | is checked, insert the appropriate subsection number:

A court may exercise personal jurisdiction over a person, who acts directly or by an agent, as to a cause of action
arising from the person’s:

1. Transacting any business in this Commonwealth;
Contracting to supply services or things in this Commonwealth;

Causing tortious injury by an act or omission in this Commonwealth;

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Causing tortious injury in this Commonwealth by an act or omission outside this Commonwealth if he
regularly does or solicits business, or engages in any other persistent course of conduct, or derives
substantial revenue from goods used or consumed or services rendered in this Commonwealth;

5. Causing injury in this Commonwealth to any person by breach of warranty expressly or impliedly made
in the sale of goods outside this Commonwealth when he might reasonably have expected such person to
use, consume, or be affected by the goods in this Commonwealth, provided that he also regularly does or
solicits business, or engages in any other persistent course of conduct, or derives substantial revenue
from goods used or consumed or services rendered in this Commonwealth;

6. Having an interest in, using, or possessing real property in this Commonwealth; .

7. Contracting to insure any person, property, or risk located within the Commonwealth at the time of
contracting; or

8. (ii). Having been ordered to pay spousal support or child support pursuant to an order entered by any
court of competent jurisdiction in this Commonwealth having in personam jurisdiction over such person.

9. Having incurred a liability for taxes, fines, penalties, interest, or other charges to any political
subdivision of the Commonwealth.

DUE DILIGENCE REQUIREMENT:
If box number 2 is checked, the following provision applies:

When the person to be served is a resident, the signature of an attorney, party or agent of the person seeking
service on such affidavit shall constitute a certificate by him that process has been delivered to the sheriff or to a
disinterested person as permitted by § 8.01-293 for execution and, if the sheriff or disinterested person was

unable to execute such service, that the person seeking service has made a bona fide attempt to determine the
actual place of abode or location of the person to be served.

FORM DC-410 REVERSE 11/07
